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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION
 VOTING SYSTEMS, INC., and
 DOMINION VOTING SYSTEMS
 CORPORATION,
                                                        Civil Action No. 1:21-cv-00213-CJN
       Plaintiffs,

 v.

 RUDOLPH W. GIULIANI,

       Defendant,


                         DEFENDANT’S ORIGINAL ANSWER TO
                         PLAINTIFFS’ ORIGINAL COMPLAINT

       Pursuant to the Federal Rules of Civil Procedure, Defendant Rudolph W. Giuliani

(“Giuliani”) hereby files his Original Answer to Plaintiffs’ Original Complaint [Doc. 1]

(“Complaint”) and would respectfully show the Court as follows, with each numerated paragraph

below corresponding to the numbered paragraphs of the Complaint:

                                              ANSWER

       1. Giuliani denies that the Trump Campaign had not pleaded and/or alleged that fraud was

           involved in the 2020 Election results in Pennsylvania and that fraud was not an issue

           in challenging those results. Paragraph 1 of the Complaint extracts certain statements

           of Giuliani to a court regarding the allegations in a specific live pleading. Giuliani

           denies the remainder of the paragraph.

       2. Giuliani lacks knowledge or information sufficient to form a belief about the truth of

           the allegations regarding the purpose of the creation of Plaintiffs and their technologies.

           Giuliani lacks knowledge or sufficient information to know which Dominion Plaintiff




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   has approved systems or technology or how these approvals were obtained. Giuliani

   admits that at least one of the Plaintiffs’ technologies were used in the 2020 Election.

   Giuliani denies the remainder of the paragraph.

3. Giuliani lacks knowledge or information sufficient to form a belief about the truth of

   the allegations regarding death threats. Giuliani denies the remainder of the paragraph.

4. Giuliani lacks knowledge or information sufficient to form a belief about the truth of

   the allegations regarding why Plaintiffs brought this suit.

5. Admitted.

6. Admitted.

7. Admitted.

8. Admitted.

9. Diversity of citizenship is admitted. Giuliani denies that the amount in controversy

   exceeds $75,000.00 and denies Plaintiffs have suffered any damages as a result of his

   conduct.

10. Giuliani agrees that the Court has personal jurisdiction over him because he made the

   statements complained of by Plaintiffs in this suit while primarily being physically

   present in the District of Columbia. Giuliani denies the remaining allegations.

11. Giuliani agrees that the Court has personal jurisdiction over him because he made the

   statements complained of by Plaintiffs in this suit while primarily being physically

   present in the District of Columbia. Giuliani denies the remaining allegations.

12. Admitted.

13. Denied.




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14. Giuliani admits that Patrick Byrne is the former CEO of Overstock.com and admits that

   he has communicated with Patrick Byrne and Sidney Powell regarding the results of

   the 2020 Election. Giuliani denies the remainder of the paragraph.

15. Giuliani admits that he has communicated with Patrick Byrne, Sidney Powell, and

   attorneys for the Trump Campaign’s legal team regarding the results of the 2020

   Election. Giuliani denies the remainder of the paragraph.

16. Giuliani lacks knowledge or information sufficient to form a belief about the truth of

   the allegations regarding whether “people close to Trump” and “multiple people briefed

   on the matter” said the things alleged or believed the things alleged. Giuliani denies

   the remainder of the paragraph.

17. Admitted.

18. Giuliani admits that the interviews were given with the persons alleged on the dates

   alleged. Giuliani admits that the quoted language was used in the interviews and that

   he made statements about the 2020 Election, Dominion, and Smartmatic. Giuliani

   admits to issuing the Tweet as alleged and that the Tweet was “liked” the number of

   times alleged. Giuliani denies the remainder of the paragraph.

19. Giuliani admits that he posted a podcast as alleged, that the quoted words were used in

   the podcast, and that he made statements about the 2020 Election and Dominion.

   Giuliani denies the remainder of the paragraph.

20. Giuliani admits that he ran an advertisement on the podcast at issue for a service, for

   the amount alleged, and with the discount code alleged. Giuliani denies the remainder

   of the paragraph.




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21. Giuliani admits that he ran an advertisement on the podcast at issue for a product, for

   the amount alleged, and with the discount code alleged. Giuliani denies the remainder

   of the paragraph.

22. Admitted.

23. Admitted.

24. Giuliani admits that the interviews were given with the persons alleged on the dates

   alleged. Giuliani admits that the quoted language was used in the interviews and that

   he made statements about the 2020 Election, Dominion, and Smartmatic. Giuliani

   denies the remainder of the paragraph.

25. Giuliani denies the allegations suggesting that Dominion machines were not at fault in

   Antrim County, Michigan. Giuliani admits the remainder of the paragraph.

26. Giuliani admits that the pleading filed in Pennsylvania did not reference Dominion.

   Giuliani further admits to having broadcast statements regarding the 2020 Election and

   Dominion. Giuliani denies the remainder of the paragraph.

27. Giuliani admits to having broadcast statements regarding the 2020 Election and

   Dominion. Giuliani further admits that he ran an advertisement on the podcast at issue

   for products and services as alleged, for the amounts alleged, and with the discount

   codes alleged. Giuliani denies the remainder of the paragraph.

28. Admitted.

29. Giuliani admits that the interviews were given with the persons alleged on the dates

   alleged. Giuliani admits that in the interviews he made statements about the 2020

   Election and Dominion. Giuliani denies the remainder of the paragraph.




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30. Giuliani admits the details regarding the Trump Tweet. Giuliani admits that he

   attended and spoke at a press conference on the date and location alleged and wherein

   he made statements about the 2020 Election and Dominion. Giuliani denies the

   remainder of the paragraph.

31. Giuliani admits that he attended and spoke at a press conference on the date and

   location alleged wherein Sidney Powell was present and wherein he and Powell made

   statements about the 2020 Election and Dominion. Giuliani also admits on that day he

   made statements about the 2020 Election and Dominion on his radio show. Giuliani

   denies the remainder of the paragraph.

32. Giuliani admits video of the press conference was Tweeted by Trump. Giuliani denies

   the remainder of the paragraph.

33. Admitted as to the truth that these allegations were reported, but not for the truths of

   the matters asserted in the reporting.

34. Giuliani admits that the interviews were given with the persons alleged on the dates

   alleged. Giuliani admits that the quoted language was used in the interviews and that

   he made statements about the 2020 Election, Dominion, and Smartmatic. Giuliani

   denies the remainder of the paragraph.

35. Giuliani admits that the quoted language was used on the broadcasts by he and Powell

   as alleged and that he and Powell made statements about the 2020 Election, and

   Dominion. Giuliani admits that Kemp certified the Georgia election results, but

   Giuliani lacks knowledge or sufficient information to know the verification process

   Kemp or the State of Georgia used to verify the accuracy of the votes. Giuliani denies

   the remainder of the paragraph.




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36. Admitted as to the truth that these allegations were reported, but not for the truths of

   the matters asserted in the reporting.

37. Admitted.

38. Admitted that Powell and Wood filed suits challenging the results of the 2020 Election

   based on issues with Dominion technology. Giuliani lacks knowledge or sufficient

   information to admit or deny the accusations regarding Wood’s Twitter history

   regarding Justice Roberts.

39. Giuliani admits that neither he nor the Trump legal team joined Powell and Wood’s

   suits challenging the results of the 2020 Election. Giuliani denies that the Trump

   Campaign had not pleaded and/or alleged that fraud was involved in the 2020 Election

   results in Pennsylvania and that fraud was not an issue in challenging those results.

   This paragraph extracts certain statements of Giuliani to a court regarding the

   allegations in a specific live pleading. Giuliani denies the remainder of the paragraph.

40. Giuliani that Barr made the public statements as alleged. Giuliani admits that he made

   statements regarding Barr’s public statements. Giuliani lacks knowledge or sufficient

   information to admit or deny the accusations regarding what Barr did or did not tell

   Trump privately. Giuliani denies the remainder of the paragraph.

41. Admitted.

42. Admitted.

43. Admitted as to the publicly available findings made by the Court as quoted and cited.

   Giuliani lacks knowledge or sufficient information to admit or deny to what extent the

   district court accredited or discredited Ramsland’s testimony.




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44. Giuliani admits that the interviews were given with the persons alleged on the dates

   alleged. Giuliani admits that the quoted language was used in the interviews and that

   he made statements about the 2020 Election and Dominion. Giuliani denies the

   remainder of the paragraph.

45. Giuliani admits that he relied on the declaration submitted by Powell in litigation.

   Giuliani denies the remainder of the paragraph.

46. Denied.

47. Giuliani admits that the statements quoted were made and are part of the public records

   cited to. Denied as to the remainder of the paragraph.

48. Giuliani admits there were redactions on the declaration filed. Giuliani denies the

   remainder of the paragraph.

49. Giuliani admits that Hugo Chavez was a dictator with an interest in undermining

   American democracy. Giuliani denies the remainder of the paragraph.

50. Giuliani admits that Krebs and Barr have never worked for a Venezuelan dictator.

   Giuliani denies the remainder of the paragraph.

51. Denied.

52. Giuliani admits that the publications cited report and/or reference Salazar and/or

   Smartmatic. Giuliani denies the remainder of the paragraph.

53. Giuliani admits that the interviews/statements were given with the persons alleged on

   the dates alleged. Giuliani admits that the quoted language was used in the interviews

   and that he made statements about the 2020 Election, Dominion, and Smartmatic.

   Giuliani denies the remainder of the paragraph.




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54. Giuliani admits that Smartmatic is not the ultimate parent of Plaintiffs and admits the

   existence of the publicly available information cited by Plaintiffs. Giuliani denies the

   remainder of the paragraph.

55. Giuliani admits that the 2020 Election results in Antrim County Michigan were initially

   in favor of President Biden. Giuliani denies the remainder of this paragraph and

   contends that the initial errors resulting in a win for President Biden were, in fact,

   caused by Dominion technology/machinery.

56. Giuliani admits that the statements were made but denies the truths of the matters

   asserted therein.

57. Giuliani admits the making the statements as quoted and admits that he did—and still

   does—contend that the Antrim County errors were attributable to Dominion

   technology/machinery. Giuliani denies the remainder of this paragraph.

58. Giuliani admits the making the statements as quoted. Giuliani denies the remainder of

   this paragraph.

59. Giuliani admits that he and Powell have discussed the integrity of the 2020 Election

   results with Ramsland. Giuliani denies the remainder of this paragraph.

60. Giuliani lacks knowledge or sufficient information to admit or deny this paragraph

   regarding Ramsland’s prior statements and the life history of George Soros.

61. Giuliani admits that he discussed the integrity of the 2020 Election results with

   Ramsland and made the statements as quoted. Giuliani admits the existence of the

   reports/court records cited. Giuliani denies the remainder of this paragraph.

62. Denied.




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63. Giuliani admits that the Ramsland report referenced does not make specific reference

   to other experts or their qualifications. Giuliani denies the remainder of this paragraph.

64. Giuliani admits the Ramsland report referenced contains the statement quoted. Giuliani

   is not required to admit or deny the legal conclusions as to the jurisdiction and scope

   of authority of the FEC/EAC. Giuliani denies the remainder of this paragraph.

65. Giuliani admits the Ramsland report referenced contains the statement quoted. Giuliani

   lacks knowledge or sufficient information to admit or deny this paragraph regarding

   software versions. Giuliani denies the remainder of this paragraph.

66. Giuliani lacks knowledge or sufficient information to admit or deny this paragraph

   regarding what products/services Antrim County purchased from Plaintiffs. Giuliani

   denies the remainder of this paragraph.

67. Admitted as to Ramsland’s conclusions as stated in his report. Giuliani denies the

   remainder of this paragraph.

68. Admitted as to the quoted language appearing in Ramsland’s report, denied as to the

   remainder of this paragraph.

69. Admitted as to the quoted language appearing in Ramsland’s report, denied as to the

   remainder of this paragraph.

70. Admitted as to Giuliani’s history as a prosecutor and vetting witness credibility, denied

   as to the remainder of this paragraph.

71. Admitted that certain persons disagreed with Ramsland’s conclusions, denied as to the

   remainder of this paragraph.

72. Admitted as to the existence of the public statements from Michigan officials, denied

   as to the remainder of this paragraph.




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73. Admitted as to the existence of the public statements from EAC officials, denied as to

   the remainder of this paragraph.

74. Admitted as to the existence of the public statements from Michigan officials, denied

   as to the remainder of this paragraph.

75. Admitted as to the existence of the public statements from Michigan officials, denied

   as to the remainder of this paragraph.

76. Admitted that a hand recount occurred, denied as to the remainder of this paragraph.

77. Admitted as to the existence of the public statements from Michigan officials, denied

   as to the remainder of this paragraph.

78. Giuliani admits that the interviews/statements were given with the persons alleged on

   the dates alleged.      Giuliani admits that the quoted language was used in the

   interviews/publications and that he made statements about the 2020 Election and

   Dominion. Giuliani denies the remainder of the paragraph.

79. Denied.

80. Denied.

81. Admitted as to the existence of the public statements from Georgia officials, denied as

   to the remainder of this paragraph.

82. Admitted as to the occurrence of a recount, denied as to the remainder of this paragraph.

83. Admitted as to the existence of the public statements from Georgia officials, denied as

   to the remainder of this paragraph.

84. Giuliani agrees to the fact that these allegations were reported as alleged, but is without

   knowledge or sufficient information to admit or deny this paragraph as to specific

   statements between Trump and Georgia officials.




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85. Admitted as to the existence of the public statements from Georgia officials, denied as

   to the remainder of this paragraph.

86. Admitted as to the existence of the public statements from Arizona officials, denied as

   to the remainder of this paragraph.

87. Admitted as to the existence of the public statements from government agency officials,

   denied as to the remainder of this paragraph.

88. Denied.

89. Denied.

90. Denied.

91. Denied.

92. Admitted that other parties disagreed with Giuliani’s statements, denied as to the

   remainder of this paragraph.

93. Denied.

94. Admitted that the corporate entities doing business as “Dominion” were not founded

   in Venezuela. Giuliani is without knowledge or sufficient information to admit or deny

   this paragraph as to the reasons behind the founding of Plaintiffs or what occurred or

   did not occur in Poulos’s basement in Toronto. Giuliani denies the remainder of the

   paragraph.

95. Admitted, with further qualification that “business grown in the United States”

   included the acquisition of Smartmatic subsidiary, Sequoia.

96. Admitted.

97. Denied.




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98. Giuliani admits that he Tweeted regarding Dominion and that those Tweets received

   approximately the number of “likes” alleged. Giuliani is without knowledge or

   sufficient information to admit or deny this paragraph as to the total number of persons

   reached by the Tweets. Giuliani denies the remainder of this paragraph.

99. Giuliani is without knowledge or sufficient information to admit or deny this paragraph.

100.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph.

101.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it. Giuliani denies the

   remainder of this paragraph.

102.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it. Giuliani denies the

   remainder of this paragraph.

103.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it. Giuliani denies the

   remainder of this paragraph.

104.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the comment or why they wrote it. Giuliani denies the

   remainder of this paragraph.

105.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the comment or why they wrote it. Giuliani denies the

   remainder of this paragraph.




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106.   Giuliani admits certain of his statements were republished. Giuliani is without

   knowledge or sufficient information to admit or deny this paragraph as to who did the

   republishing or wrote the Tweet or why they wrote it/republished it. Giuliani denies

   the remainder of this paragraph.

107.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it. Giuliani denies the

   remainder of this paragraph.

108.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it. Giuliani denies the

   remainder of this paragraph.

109.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it. Giuliani denies the

   remainder of this paragraph.

110.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it.

111.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it.

112.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it. Giuliani denies the

   remainder of this paragraph.

113.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it.




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114.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it. Giuliani denies the

   remainder of this paragraph.

115.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to what percentage of the population believed/believes what. Giuliani

   denies the remainder of this paragraph.

116.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to what percentage of the population believed/believes what. Giuliani

   denies the remainder of this paragraph.

117.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph.

118.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to targeting of employees or threats from third parties. Giuliani denies

   the remainder of this paragraph.

119.   Giuliani admits to conducting a Christmas Day podcast. Giuliani is without

   knowledge or sufficient information to admit or deny this paragraph as to who wrote

   the comment or why they wrote it. Giuliani denies the remainder of this paragraph.

120.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the post or why they wrote it.

121.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the post or why they wrote it.

122.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph.




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123.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph.

124.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph.

125.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph.

126.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to what expenditures Plaintiffs have made. Giuliani denies the remainder

   of this paragraph.

127.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the post or why they wrote it or what expenditures Plaintiffs

   made. Giuliani denies the remainder of this paragraph.

128.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to what expenditures Plaintiffs have made. Giuliani denies the remainder

   of this paragraph.

129.   Giuliani admits that Plaintiffs’ technology and services were utilized in 28 states.

   Giuliani is without knowledge or sufficient information to admit or deny the remainder

   of the paragraph.

130.   Giuliani admits to Tweeting about the 2020 Election and Dominion and issuing the

   Tweets referenced. Giuliani denies the remainder of this paragraph.

131.   Admitted.

132.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph.




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133.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it.

134.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the Tweet or why they wrote it.

135.   Giuliani admits that Plaintiffs had and have poor reputations. Giuliani denies the

   remainder of the paragraph.

136.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph.

137.   Giuliani admits that the reports occurred.    Giuliani is without knowledge or

   sufficient information to admit or deny this paragraph as to what actions the Trump

   Campaign took into response to Clare’s letter to Powell. Giuliani denies the remainder

   of this paragraph.

138.   Admitted.

139.   Giuliani admits that he made the statements as quoted.       Giuliani denies the

   remainder of this paragraph.

140.   Giuliani admits to having broadcast statements regarding the 2020 Election and

   Dominion. Giuliani further admits that he ran an advertisement on the show at issue

   for products and services as alleged, for the amounts alleged, and with the discount

   codes alleged. Giuliani denies the remainder of the paragraph.

141.   Giuliani admits to having broadcast statements regarding the 2020 Election and

   Dominion. Giuliani further admits that he ran an advertisement on the show at issue

   for products and services as alleged, for the amounts alleged, and with the discount

   codes alleged. Giuliani denies the remainder of the paragraph.




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142.   Giuliani admits to having broadcast statements regarding the 2020 Election and

   Dominion as per the interviews/shows referenced. Giuliani denies the remainder of the

   paragraph.

143.   Giuliani admits to having broadcast statements regarding the 2020 Election and

   Dominion, that a rally occurred on January 6, 2021 in D.C., and that a group of persons

   rioted at the Capitol. Giuliani denies the remainder of the paragraph.

144.   Giuliani is without knowledge or sufficient information to admit or deny this

   paragraph as to who wrote the comment or why they wrote it. Giuliani denies the

   remainder of this paragraph.

145.   Admitted.

146.   Admitted.

147.   Giuliani admits to having broadcast statements regarding the 2020 Election and

   Dominion and that a rally occurred on January 6, 2021 in D.C. Giuliani denies the

   remainder of the paragraph.

148.   Admitted.

149.   Giuliani admits to having issued regarding the 2020 Election and a rally occurred

   on January 6, 2021 in D.C. Giuliani denies the remainder of the paragraph.

150.   Admitted.

151.   Admitted that the Tweet occurred, denied as to remainder of the paragraph.

152.   Admitted that Giuliani attended and made the quoted statements at the Ellipse Rally

   in the context of other statements omitted from the Complaint. Giuliani denies the

   remainder of the paragraph.




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153.   Admitted that Trump spoke at the Ellipse Rally and Giuliani issued the Tweet that

   received “likes”. Giuliani denies the remainder of the paragraph.

154.   Admitted.

155.   Admitted that President Trump made the quoted statements in the context of many

   other statements, denied as to remainder of paragraph.

156.   Admitted that President Trump made the quoted statements in the context of many

   other statements.

157.   Admitted that President Trump made the quoted statements in the context of many

   other statements, denied as to remainder of paragraph.

158.   Admitted that some members of the crowd at the Ellipse Rally marched to the

   Capitol grounds. Giuliani is without knowledge or sufficient information to admit or

   deny this paragraph as to who said what to the FBI or whether these were genuine

   beliefs. Giuliani denies the remainder of the paragraph.

159.   Admitted that McConnell made the statements as alleged and that some members

   of the crowd at the Ellipse Rally marched to the Capitol grounds. Giuliani denies the

   remainder of the paragraph.

160.   Giuliani denies that the crowd at the Ellipse Rally that marched to the Capitol

   Grounds initiated violence at the Capitol, but admits that violence at the Capitol

   Grounds occurred.

161.   Giuliani denies that the crowd at the Ellipse Rally that marched to the Capitol

   Grounds initiated violence at the Capitol, but admits that violence at the Capitol

   Grounds occurred.




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162.   Giuliani denies that the crowd at the Ellipse Rally that marched to the Capitol

   Grounds initiated violence at the Capitol, but admits that violence at the Capitol

   Grounds occurred. Giuliani denies the remainder of the paragraph.

163.   Giuliani denies that the crowd at the Ellipse Rally that marched to the Capitol

   Grounds initiated violence at the Capitol, but admits that violence at the Capitol

   Grounds occurred. Giuliani is without knowledge or sufficient information to admit or

   deny this paragraph as to motivations of the rioters.

164.   Giuliani admits that he issued social media postings prior the Capitol Riot and that

   news outlets covered the Capitol Riot. Giuliani denies the remainder of the paragraph.

165.   Giuliani admits that Trump issued the Tweet. Giuliani is without knowledge or

   sufficient information to admit or deny this paragraph as to chantings of the crowds at

   the Capitol Grounds. Giuliani denies the remainder of the paragraph.

166.   Giuliani admits he issued the Tweet. Giuliani denies the remainder of the paragraph.

167.   Giuliani admits that Ms. Babbitt died at the Capitol. Giuliani is without knowledge

   or sufficient information to admit or deny this paragraph as to her specific motivations

   for being at the Capitol. Giuliani denies the remainder of the paragraph.

168.   Giuliani admits he issued the Tweet. Giuliani denies the remainder of the paragraph.

169.   Giuliani admits Trump issued the Tweet. Giuliani denies the remainder of the

   paragraph.

170.   Giuliani admits that these unfortunate statements and conduct occurred by some

   people, but is without knowledge or sufficient information to admit or deny this

   paragraph as to their specific motivations.




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171.   Giuliani admits that the quoted statements were made.          Giuliani denies the

   remainder of the paragraph.

172.   Denied.

173.   Giuliani admits that he engaged in interviews and commentary regarding the

   Capitol Riot, Dominion, and the 2020 Election. Giuliani denies the remainder of the

   paragraph.

174.   Giuliani admits to issuing a tweet regarding Antifa’s involvement in the Capitol

   Riot. Giuliani denies the remainder of the paragraph.

175.   Giuliani admits that Dominion sent a retraction letter.        Giuliani denies the

   remainder of the paragraph.

176.   Giuliani admits that he has not retracted any statements regarding Dominion and

   that some of his statements are publicly available. Giuliani denies the remainder of the

   paragraph.

177.   Admitted or denied as per above.

178.   Giuliani admits to making the specific statements quoted within the context of other

   statements that are not included in the Complaint. Giuliani otherwise denies this

   paragraph.

179.   Giuliani is not required to admit or deny legal conclusions. Giuliani otherwise

   denies this paragraph.

180.   Giuliani is not required to admit or deny legal conclusions. Giuliani otherwise

   denies this paragraph.

181.   Denied.




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       182.     Giuliani is not required to admit or deny legal conclusions. Giuliani otherwise

           denies this paragraph.

       183.     Giuliani is not required to admit or deny legal conclusions. Giuliani otherwise

           denies this paragraph.

       184.     Giuliani is not required to admit or deny legal conclusions. Giuliani otherwise

           denies this paragraph.

       185.     Giuliani is not required to admit or deny legal conclusions. Giuliani otherwise

           denies this paragraph.

       186.     Giuliani is not required to admit or deny legal conclusions. Giuliani otherwise

           denies this paragraph.

                                      AFFIRMATIVE DEFENSES

       AFFIRMATIVE DEFENSE ONE: Plaintiffs’ claims are barred in whole or in part by the

First Amendment.

       AFFIRMATIVE DEFENSE TWO: Plaintiffs’ claims are barred in whole or in part by the

applicable statute of limitations (the single publication rule).

       AFFIRMATIVE DEFENSE THREE: Plaintiffs’ claims are barred in whole or in part by

the litigation privilege and/or attorney immunity.

       AFFIRMATIVE DEFENSE FOUR: Plaintiffs’ claims are barred in whole or in part

because the statements complained of are of and concerning Plaintiffs in their roles as

governmental actors, which deprives them of standing to sue and/or creates an absolute privilege

for Giuliani.

       AFFIRMATIVE DEFENSE FIVE: Plaintiffs’ claims are barred in whole or in part because

some and/or all of Giuliani’s statements complained of are substantially true.




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       AFFIRMATIVE DEFENSE SIX: Plaintiffs’ claims are barred in whole or in part because

some and/or all of any alleged damages suffered by Plaintiffs were not caused by Giuliani and

were, in fact, caused intervening and/or supervening causes independent of Giuliani’s conduct.

                                       PRAYER FOR RELIEF

       Defendant prays that Plaintiffs take nothing, that Defendant be awarded his costs, and for

all other relief to which Defendant shows himself entitled.

Date: August 25, 2021

                                             Respectfully submitted,

                                             By: /s/ Joseph D. Sibley IV

                                                     CAMARA & SIBLEY L.L.P.

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                                             ATTORNEYS FOR RUDOLPH W. GIULIANI


                                CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of August 2021, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which I understand to have caused service
on all counsel of record.


                                             /s/ Joe Sibley
                                             Joseph D. Sibley IV




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